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                                                                       1




      1             IN THE DISTRICT COURT OF THE NINETEENTH

      2            JUDICIAL DISTRICT OF THE STATE OF MONTANA

      3                  IN AND FOR THE COUNTY OF LINCOLN

      4

      5    CAUSE NO.     DV-99-124

      &    CARRIE M. DEDRICK and ROBERT W.
           DEDRICK, husband and wife,
      7
                              Plaintiffs,
      8
                  Vs.
      9
           W R. GRACE & CO. -Conn., a
            .


     10    Connecticut corporation,
           W.R. GRACE & CO., a Delaware
     11    corporation, W.R. GRACE & CO.,
           a/k/a GRACE, an association of
     12    business entities, and DOES I-IV,

     13                       Defendants.

     14

     15                         DE?OSITION

    16                                  OF

     17                       CARRIE MILDRED DEDRICK

    18

    19

    20                   Taken at the Venture Motor Inn
                              443 U.S. Highway 2, W.
    21                            Libby, Montana
                        Monday, June 26, 2000 -  10:00 a.m.
    22

    23

    24
                Reported by Jolene Asa, RPR, and Notary Public
    25             for the State of Montana, Flathead County
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                                                                         16



      1    same page.

      2                        MR. MacDONI’LD:   You bet.

      3    BY MR. MacDONALD:

      4         Q       Carrie, was your husband ever in the

      5    military?

      S         A       No.

      7         Q       Carrie, as you sit here today, how would

      8    you describe your general health?

      9         A       It’s not the same.       I. can’t breathe.   I

     10    can’t walk around a grocery store.          I cough all

     11    night,   sit in a chair most of the time.         I don’t do

     12    the things that I used to do,         like go boating with

     13    my husband.        I can’t crawl in and Out of the boat.

     14    I can’t go down on the river and fish.           We do

     15    nothing together that we used to do.

     16         Q       Carrie, other than your breathing problems

     17    and your cough, things associated with your lungs,

     18    do you have any other health problems to speak

     19         A       No.     I take thyroid because I’ve had a

     20    thyroid problem for years.

     21         Q       But that’s under control?

     22         A       Yes.

     23         Q       How long have you had a breathing problem

     24    that you can recall, Carrie?

     25         A       Positve1y, three and a half years almost.
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                                                                       19



      1    have a boat too, a fishing boat.

      2         Q    nd would you bring that. up there too,           the

      3    fishing boat?

      4         A    My husband and I would take the fishing

      5    boat up, and we would also take the kids and take

      6    them fishing in our fishing boat.         I wont be able

      7    to do that this summer.

      8         Q    Carrie, what is your understanding of your

      9    breathing problem?       What is it?

    10          A    I have asbestosis in my lungs.          I have

    11     rales in my lungs.       I   have been going for the past

    12     five months    --   One month I went twice to

    13     Dr. Whitehouse.

    14          Q    What is your understanding of what

    15    asbestosis is?

    16          A    It’s a terrible disease, and there’s no

    17     cure for it.

    18          Q    Could you describe for me as best you can

    19    your understanding of what the terrible disease is,

    20    wJiat it does to you?

    2].         A    Causes      (sic) you from having a good life,

    22    breathing properly.                            1 and to
                                        It causes you to cough

    23    me it’s my death sentence.

    24          Q    1 after you started noticing your
                     Carrie

    25    breathing problem with your cough in the summer of
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                                                                             24



      1           Q      Did you get a chance to talk to

      2   Dr. Whitehouse last week?

      3           A     Yes.    He told me to call back this Friday.

      4           Q      Did you explain to him what Connie Boyd

      5   had talked to you about?

      6           A      He talks to her all the time.          He calls

      7   her and talks back and forth.

      8           Q      So Dr. Whitehouse didn’t prescribe any

      9   medication for you either to help your immune

    10    system?

    11            A     No.    No.        To tell you the truth,   t don’t

    12    know if there is anything they can do to get my

    13    immune system back.

    14            Q      Carrie, do you have any particular

    15    sickness right now, I mean, other than what we’ve

    16    talked about?         I mean, do you have a cold or any

    17    other things that          --




    .18           A      I iust cough, and my chest ia tightand

    19    the same      --   Sometimes I lose my voice, and it’s hard

    20    to talk.       I have a dry cough all the time.           I   really

    21    have been a healthy,             energetic person all of my

    22    life.       My friend named Pat and I would walk four

    23    miles up at the Asa Wood School every morning in,

    24    like, 40 to 45 minutes because we’d really go at it.

    25    Like I said, I can’t hardly walk upstairs or go
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                                                                          25




      1    downstairs, go to the grocery store.            I used to go

     2     around the grocery store and think nothing of it.

     3     don’t really like to go out to eat because I cough.

     4            Q       Carrie, have you talked to Dr. Whitehouse

     5     about what the future holds for you, what your.

     6    prognosis is?

     7            A       I think I know.    I haven’t personally come

     8    out and talked to him, but Connie and I have

     9    discussed what happens to me.

    10            Q       Pnd what’s your understanding from Connie

    11    of what happens to you?

    12            A       Idie.

    13            Q       Did Connie tell you any range of how long

    14    before you die?

    15            A       No.    I iust keep saying to her, What

    16    happens to me next, like, when this immune system               --




    17    What’s next for me?

             ..       .   She’s hugs me and says, Weli, you’ll get

    19    through it.

    20            Q       And   youve never talked to Dr. Whitehouse

    21    about how long you may have?

    22            A       No.    I could ask him Friday.

    23            Q       nd he’s never offered that information to

    24    you?

    25            A       No.
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     1         Q    Do you remember ever having any Workers’

     2    Cornp claims in your history of working?

     3         A    For being hurt?

     4         Q    Yes.

     5         A    No.                                         S




     6         Q    Carrie, have you ever had any treatment
                                                                         S




     7    for alcohol-related problems?

     8         A    Never.

     9         Q    Have you had any treatment for      -   -




    10    psychiatric treatment?

    11         A    Never.

    12         Q    Have you ever had any marriage counseling

    13    of any kind?

    14         A    No, but I need it now.

    15         Q    Why do you need it now?

    16         A    This is very stressful, what my husband

    17    and I both are going through.     It’s caused our

    18    relationship to be not so great.     We fight a’most

    19    every day because we’re stressed out over this

    20    disease that we both have.

    21         Q    How long has it been,    Carrie.   since you

    22    noticed this increase in the stress and your

    23    relationship with your husband?

    24         A    The last two years.

    25         Q    Have you tried any type of an appointment
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     1     or sought out any therapy help in the last two

     2     years?

     3             A      No, but we’re going to.

     4             Q      Do you know who you’re going to see?

     5             A      There’s some stress counselors coming to

     6     town.       We’ve been married for 50 years September 2nd

     7     of this year,        and we still love each other, but it’s

     8    very stressful.

     9             Q      Do you have a particular name of any

    10     individual that you’re planning to see?

    11             A      No,   I don’t.

    12             Q      So there isn’t anyone here in town or

    13     Kalispell or Troy that you want to seek therapy

    14    with?        You’re waiting for somebody to come into

    15     town?

    16                          MR.   SULLIVAN:    Just for a point of

    17     clarification,        is this the disaster relief program

    18     that the EPA is bringing in as a result of what

    19    W.R. Grace       --   as a result of the asbestos that’s

    20    contaminated the community?

    21                          THE WITNESS:      Yes.

    22                          MR. SULLIVAN:      The EPA is providing

    23    some sort of developing of an infrastructure for

    24    stress relief for victims?

    25                          THE WITNESS:      Yes.   There are many of
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      1   us.      Yes.

      2   BY MR. MacDONALD:

      3            Q      So you’re waiting to see some kind of

      4   government-sponsored stress relief program before

      5   you seek some type of therapy?              Is that my

      6   understanding?           Is my understanding correct?

      7            A                             1 we still will
                          Yes, but if it doesn’t come

      8   go seek help.           I also work with the hospital board.

      9   They chose me to be on the board with them to work

    10    out these things.

    11             Q      Carrie, how long have you been on the

    12    hospital board?

    13             A      It’s not the regular hospital board.             It’s

    14    a special group of people that they             -   -   of different

    15    people in the community.           I’ve been going to the

    16    meetings for three months or something like that.

     17   I’m not positive.           They*re working out all of these

     1    things so people can have counselors

    19             Q      You mentioned,    Carrie,    that you believe

    20    your husband has asbestosis too;             is that correct?

    21             A       Yes.

    22             Q       How long have you known that your husband

    23    has asbestosis?

     24            A       When I went to Dr. Whitehouse my first

     25    time,       he had been diagnosed with it a year before
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      1                        MR. SULLIVAN:    When was it that you

      2    found out   - -




      3                If I can put words in Carrie’s mouth.

      4                when was it that you found out, years

      5    later o whenever it was, that that had been the

      6    case?

      7                        MR. MacDONALD:    That’s fine.

      8                        MR. SULLIVAN     When Dr. whitehouse

      9    told me.

     10    BY MR. MacDONALD:

     11            Q   Prior to seeing Dr. Whitehouse, you didn’t

    12     know that you had ever been exposed to asbestos?

    13             A   (Witness shook head.)

    14             Q   Isthata-

    15             A   No.

    16             Q   Okay.     Could you describe for me as best

    17    you can the discussion you had with Dr. Whitehouse

    18    about your exposure to asbestos?

    19             A   He didn’t really go into it that much.          He

    20    said I had it.       My husband worked there.     Ue would

    21    come home with his dirty clothes.          I did the washing

    22    of his clothes.       As a child, we all played in it.

    23             Q   To the best of your knowledge, Carrie,

    24    have you ever been exposed to asbestos in any other

    25    way?
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      1            A       No.

      2            Q       Were you ever around insulation that you

      3    know of?

      4            A       No.

      5            Q       How about tile?      Were you ever around when

      6    tile was being installed?

      7            A       No.

      8            Q       Carrie, have you ever seen duct work on

      9    pipe,       falling off pipes at any tinte in your life?

     10            A       Falling off, no.

     1].           Q       Have you ever worked or been around

     12    somebody doing duct work on pipes?

     13.           A       No.

     14            Q       Have you ever worked on brakes or been

     15    around somebody working on brakes?

     16            A        No.

     17            Q        Now, when you said that your husband
                                                  W.R.              Grace?
     18    worked up there, was he an employee of

     19            A        Yes, but   --   Can I explain?

     20            Q        Yes.

     21            A        He worked for J.E.     Johnson Construction

           Company,        arid they worked for    --   They were all
     22

     23    employed by Grace.
                                                                  for
     24                Q    What type of work did your husband do

     25    J.E. Johnson Construction?
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      1         A    Built buildings, worked on the

      2    transformer.

      3                     MR. DEDRICK:     Carpenter.

      4                     THE WITNESS:     He was a carpenter.

      S                     MR. MacDONALD:     Mr. Dedrick
                                                   1          I’m

      6    going to have to ask you to try to be quiet.         Okay?

      7                     MR. DEDRICK:     I understand.

      8                     MR. MacDONALD:     I know it’s hard.

      9    You’ll get your chance.

     10                     THE WITNESS:     He was a carpenter.

     11                     MR. DEDRICK:     I was a carpenter.

     12                     MR. MacDONALD:     Okay

     13    BY MR. MacDONALD:

     14         Q    When you say “Worked up there,” how long

     15    did your husband work up there at the Zonolite mine?

     16         A    11 to 12 months.

     17         Q    Do you know what building he was building

     18    when he was up there?

     19         A    Not for sure.    He worked on several.

     20         Q    was your husband a carpenter by trade?

     21         A    Yes.

     22         Q    And how long did he work for J.E. Johnson?

     23    Do you remember?

     24         A    Those months.

     25         Q    So the only time he worked for
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      1    J.E. Johnson was when he was building buildings up

      2    at Zonolite?

      3            A     Yes.

      4            Q     Do you remember why he left J.E. Johnson

      S    Construction?

      6            A     He went to work for the dam.

      7            Q     Did your husband ever do any cement work,

      8    work with cement that you recall?

      9            A     No.

     10            Q     What do you recall about that 11- to

     11    12-month period when your husband was working for

     12    J.. Johnson and building buildings up at Zonolite?

     13            A     He would come home filthy, have dust all

     14    over.       The pickup would be covered with dust on the

     15    inside.

     16            Q      Did he ever come home filthy in any of his

     17    other jobs, filled with dust, that you recall?

     18            A      No.

     19            Q      Did you make him clean off the dust as

     20    best he could outside before he came into your

     21    house?

     22            A      He would stamp his feet and take his

     23    clothes off in the back porch area.

     24            Q      And then would you immediately put those

     25    clothes in the washer?
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      1    than your normal speed?

      2         A      I was walking slow.

      3         Q      Slower than you did last summer?

      4         A      About the same.

      5         Q      How about if you took rests, more rests

      6    than you have?

      7         A      I have stopped.    I have stopped.   I can’t

      8    breathe, and I’m panting,     so I stop.

      9         Q      You mentioned that you can’t garden

     10    anymore?

     11         A      Yes.

     12         Q      When is the last time you did gardening?

     13         A      I started it last year,   and he, my

     14    husband,   finished it.

     15         Q      Did you try to start it this year?

     16         A      No.

     17         Q      How    come?
     18         A      It would be too much for me.

     19         Q      Anything else,    Carrie, you used to like to

     20    do that you can’t do now?

     21         A      The walking, planting flowers,    the

     22    digging.    It’s just too much.     I get too tired.

     23         Q      Did you try to plant flowers this year?

     24         A      I did, yes.

     25         Q      How long did you do that?
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     1          Q       Carrie, what was your maiden name?

     2         A        Williams.

     3          Q       Do you still have relatives up here,

     4     Williams relatives in the Libby area?

      5         A       Yes.

      6         Q       Who would they be?

      7         A        I have a sister that lives in Tray.

      B         Q       What’s her name?

      9         A       Laura Meyers.

     10         Q       And who is her husband?

     11         A        Lewis Meyers.

     12         0        Do you have any other brothers and

     13    sisters?

                A        She’s my real sister.     Then I have a half
     14

     15    brother, Tom Pettitt.

     16         Q        Where does he live?

     17         A        In Libby.

     18         Q        Carrie, you also mentioned that you played

     19    around asbestos when you were a child; is that

     20    correct?

     21         A        Yes.

     22             Q    Where did you do that?
                                                                    All
     23         A        About a block from the popping plant.
                                                  in it.
     24    the kids in my neighborhood would play

     25             Q    What did it look like?
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      1           A    It’s a big, long building with smoke
                                                          get in
      2     coming out of the building, and then we would
                                                           it.
      3     the building and swing on the rope and jump in

      4           Q    When you say “Jump in it,” what was it

      5     like?,

      6           A    There was a rope in there, and we’d swing

      7     on the rope and jump into the piles.

      8           Q    What did the piles look like?

      9           A    Dusty, and you’d sink.

                       Do you know what the material was,         the
     10           Q

     11     pile of material?

     12           A    Huh-uh.   No.

     13           Q    Why do you think there was asbestos in

     14     those materials?

     15           A    I didn’t know that then.

     16           Q    Why do you think it now?

     17           A    It’s in the papers.     They’re cleaning it

     18..   up.

     19           Q    Until it was in the papers       -   -




                       And I played on the ball eield.           I was   in
     20           A

     21     track in high school.

                       Until it was in the papers,          you didn’t
     22           Q
                                                          that
     23     know that there was asbestos in the materials

     24     you played in as a child?

                  A    No.   Not as a child,    no.
     25
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      1                                  EXAMINATION

      2    BY   .    SULLIVIN:

      3         Q          Carrie, before we took our break, Terry

      4    was asking you some questions about various ways you

      5    might have been exposed to the vermiculite and

      6    asbestos that was later found to be in the

      7    vermiculite.           Did you ever have vermiculite in your

      8    gardens?

      9         A          Yes.

     10         Q          And can you explain how the vermiculite

     11    would be gotten and placed there?

     12         A          My husband would bring it home and dump

     13    it, and Lerah and the Parkerswere friends, and they

     14    told me    --    Lerah told me that we could have it for

     15    free, to come up and get it any time we wanted it,

     16    so we did.

     17         Q          So if I understand correctly,      the Parkers

     18    purchased the river export facility from W,R., race.,

     19    sometime in approximately 1995; is that correct?

     20         A          Yes.

     21         Q          And so at the time that the Parkers

     22    purchased the facility from W.R. Grace, there were

     23    piles of vermiculite lying around?

     24                           MR. MacDONALD:     Objection as to form.

     25                           THE WITNESS:     Yes.
